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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________


                    State of Arizona, et al.                       )
                             Plaintiff                             )
                                v.                                 )      Case No.     4:23-cv-05448-YGR
                 Meta Platforms, Inc., et al.                      )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          The Commonwealth of Kentucky                                                                                          .


Date:          10/30/2023                                                                   /s/ J. Christian Lewis
                                                                                              Attorney’s signature


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